                                                                                 FORM 1
                                                                                                                                                          Page No:     1
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                          19-12300                                                                                    Trustee Name:                           Robert D. Barr
Case Name:                         FRIEDLANDER, BRAD H.                                                                        Date Filed (f) or Converted (c):        04/17/2019 (f)
For the Period Ending:             06/30/2019                                                                                  §341(a) Meeting Date:                   05/30/2019
                                                                                                                               Claims Bar Date:                        08/08/2019
                                     1                                2                      3                           4                        5                                        6

                        Asset Description                         Petition/         Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                         Unscheduled        (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                      Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                  Less Liens, Exemptions,
                                                                                     and Other Costs)

Ref. #
1        20 Oakshore Dr., #3 Bratenahl OH 44108-0000                $120,900.00                         $0.00                                          $0.00                                             FA
2        Make: Infiniti Model: QX60 Year: 2017 Other                      $0.00                         $0.00                                          $0.00                                             FA
         Information: Leased Vehicle
3        Make: BMW Model: 4 Series Year: 2019 Other                       $0.00                         $0.00                                          $0.00                                             FA
         Information: Leased Vehicle Lease payments
         made by employer
4        Make: Vespa Model: Scooter Year: 2007                        $2,500.00                         $0.00                                          $0.00                                             FA
         Mileage: 3500
5        See Household Assets Attachment                              $2,000.00                         $0.00                                          $0.00                                             FA
6        Weights & Barbells                                            $100.00                          $0.00                                          $0.00                                             FA
7        Beretta .25 cal. pistol                                       $100.00                          $0.00                                          $0.00                                             FA
8        Charter Arms .38 cal. pistol                                  $150.00                          $0.00                                          $0.00                                             FA
9        Assorted Hand Tools, Garden Tools, Power                      $500.00                          $0.00                                          $0.00                                             FA
         Washer
10       Checking Account 17.1. #xxxx xxxx 0637 PNC                   $3,768.50                         $0.00                                          $0.00                                             FA
         Bank
11       Checking Account 17.2. #xxxx-xxxx-0372 US                    $5,109.50                         $0.00                                          $0.00                                             FA
         Bank
12       Investment Account 17.3. #xxxx-2690 Wells                   $38,989.18                   $21,553.66                                      $21,552.66                                           $1.00
         Fargo Advisors
13       Savings Account 17.4. #xxxx-3118 US Bank                    $24,057.00                         $0.00                                          $0.00                                             FA
14       Name of entity: % of ownership: BJRP, LLC (In                    $0.00                         $0.00                                          $0.00                                             FA
         Ch. 11, 18-15839; all operting assets have been
         sold in the bankruptcy case) 82% %
15       Red Restaurant Group, LLC 50% %                                  $0.00                         $0.00                                          $0.00                                             FA
16       BJPM Management, LTD 51% %                                       $0.00                         $0.00                                          $0.00                                             FA
17       401K Principal Financial - Red Restaurant                   $13,855.84                         $0.00                                          $0.00                                             FA
         Group
18       Debtor is Trustee of the Brad H. Friedlander                     $0.00                         $0.00                                          $0.00                                             FA
         Family Trust The Trust has no assets.



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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES

Case No.:                      19-12300                                                                                                                     Trustee Name:                             Robert D. Barr
Case Name:                     FRIEDLANDER, BRAD H.                                                                                                         Date Filed (f) or Converted (c):          04/17/2019 (f)
For the Period Ending:         06/30/2019                                                                                                                   §341(a) Meeting Date:                     05/30/2019
                                                                                                                                                            Claims Bar Date:                          08/08/2019
                                  1                                                 2                              3                                4                          5                                          6

                      Asset Description                                        Petition/                  Estimated Net Value                  Property                  Sales/Funds                 Asset Fully Administered (FA)/
                       (Scheduled and                                        Unscheduled                 (Value Determined by                  Abandoned                 Received by                Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                     Value                           Trustee,                 OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

19      Retainer for Legal Services                               (u)              $7,500.00                              $4,040.89                                                $4,040.89                                            FA
Asset Notes:      Amount recovered represents net amount of retainer received after deduction of secured claim for current legal services, per agreement.
20      Preference/Fraudulent Conveyance Claims                   (u)                   $0.00                                  $1.00                                                  $0.00                                           $1.00


TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                               $219,530.02                               $25,595.55                                            $25,593.55                                         $2.00



Major Activities affecting case closing:
 06/30/2019    Turnover of remaining funds, if any, from Wells Fargo investment account. Investigating potential avoidance claims (including review of additional bank statements not yet provided).
               Investigating transfers of funds to daughter. Review claims.


Initial Projected Date Of Final Report (TFR):           12/31/2019                           Current Projected Date Of Final Report (TFR):              12/31/2019                  /s/ ROBERT D. BARR
                                                                                                                                                                                     ROBERT D. BARR




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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         19-12300                                                                                                   Trustee Name:                         Robert D. Barr
Case Name:                       FRIEDLANDER, BRAD H.                                                                                       Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***8343                                                                                                 Checking Acct #:                      ******2300
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:
For Period Beginning:            01/01/2019                                                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:               06/30/2019                                                                                                 Separate bond (if applicable):


     1                2                          3                                                          4                                                       5                   6              7

Transaction      Check /                      Paid to/                              Description of Transaction                               Uniform            Deposit           Disbursement       Balance
   Date           Ref. #                   Received From                                                                                    Tran Code             $                    $


04/30/2019           (19)    Kutak Rock LLP                                 Turnover of Unapplied Retainer for Legal Services.               1229-000            $4,040.89                  $0.00          $4,040.89
05/31/2019           (12)    Wells Fargo Advisors                           Turnover of Funds from Investment Account.                       1129-000           $21,552.66                  $0.00       $25,593.55

                                                                                              TOTALS:                                                             $25,593.55                 $0.00         $25,593.55
                                                                                                  Less: Bank transfers/CDs                                             $0.00                 $0.00
                                                                                              Subtotal                                                            $25,593.55                 $0.00
                                                                                                  Less: Payments to debtors                                            $0.00                 $0.00
                                                                                              Net                                                                 $25,593.55                 $0.00




                      For the period of 01/01/2019 to 06/30/2019                                                           For the entire history of the account between 04/30/2019 to 6/30/2019

                      Total Compensable Receipts:                            $25,593.55                                    Total Compensable Receipts:                                 $25,593.55
                      Total Non-Compensable Receipts:                             $0.00                                    Total Non-Compensable Receipts:                                  $0.00
                      Total Comp/Non Comp Receipts:                          $25,593.55                                    Total Comp/Non Comp Receipts:                               $25,593.55
                      Total Internal/Transfer Receipts:                           $0.00                                    Total Internal/Transfer Receipts:                                $0.00


                      Total Compensable Disbursements:                            $0.00                                    Total Compensable Disbursements:                                 $0.00
                      Total Non-Compensable Disbursements:                        $0.00                                    Total Non-Compensable Disbursements:                             $0.00
                      Total Comp/Non Comp Disbursements:                          $0.00                                    Total Comp/Non Comp Disbursements:                               $0.00
                      Total Internal/Transfer Disbursements:                      $0.00                                    Total Internal/Transfer Disbursements:                           $0.00




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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        19-12300                                                                                          Trustee Name:                         Robert D. Barr
Case Name:                      FRIEDLANDER, BRAD H.                                                                              Bank Name:                            Independent Bank
Primary Taxpayer ID #:          **-***8343                                                                                        Checking Acct #:                      ******2300
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:           01/01/2019                                                                                        Blanket bond (per case limit):        $2,000,000.00
For Period Ending:              06/30/2019                                                                                        Separate bond (if applicable):


    1                2                           3                                                        4                                              5                    6              7

Transaction      Check /                     Paid to/                             Description of Transaction                        Uniform           Deposit           Disbursement       Balance
   Date           Ref. #                  Received From                                                                            Tran Code            $                    $


                                                                                                                                                                                  NET         ACCOUNT
                                                                                           TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE        BALANCES

                                                                                                                                                      $25,593.55                  $0.00       $25,593.55




                     For the period of 01/01/2019 to 06/30/2019                                                   For the entire history of the account between 04/30/2019 to 6/30/2019

                     Total Compensable Receipts:                           $25,593.55                           Total Compensable Receipts:                                 $25,593.55
                     Total Non-Compensable Receipts:                            $0.00                           Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                         $25,593.55                           Total Comp/Non Comp Receipts:                               $25,593.55
                     Total Internal/Transfer Receipts:                          $0.00                           Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                           $0.00                           Total Compensable Disbursements:                                  $0.00
                     Total Non-Compensable Disbursements:                       $0.00                           Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                         $0.00                           Total Comp/Non Comp Disbursements:                                $0.00
                     Total Internal/Transfer Disbursements:                     $0.00                           Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                                                   /s/ ROBERT D. BARR
                                                                                                                                                   ROBERT D. BARR




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